 UNITED STATES DISTRICT COURT
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 SOUTHERN DISTRICT OF NEW YORK                                                   '! ELECTRONICALLY FILED
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                                                                     ORDER
                                        Plaintiff,
                                                                     17 Civ. 4662 (AKH)
             -against-

 CITY OF NEW YORK, MAYOR'S OFFICE OF
 SPECIAL ENFORCEMENT and CHRISTIAN
 KLOSSNER, in his official capacity as Executive
 Director of the Mayor's Office of Special
 Enforcement,

                                         Defendants.

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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On appeal, the Second Circuit vacated my order granting summary judgment for

Defendants and remanded with instructions to abstain. The mandate having issued, the order

granting summary judgment, ECF No. 80, is vacated, and this case is dismissed without

prejudice for lack of subject matter jurisdiction. The Clerk is directed to enter judgment for

Defendants and again to close the case.

                 SO ORDERED.

Dated:           October 7, 2020
                 New York, New York                          AL VIN K. HELLERSTEIN
                                                             United States District Judge




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